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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

CANDE BRANDOW                       §
                                    §
                                    §
v.                                  §     CIVIL ACTION NO. 4:18-CV-0516
                                    §
FLAGSTAR BANK, FSB                  §
                                    §
______________________________________________________________________________

          UNOPPOSED STIPULATION OF DISMISSAL WITH PREJUDICE
______________________________________________________________________________

TO THE HONORABLE DISTRICT COURT JUDGE:

        Pursuant to the Federal Rules of Civil Procedure, Plaintiff Cande Brandow hereby

stipulates and agrees to the following:

        1.     Plaintiff filed her Original Petition, Application for Injunctive Relief, and

Request for Disclosures in the 268th Judicial Court of Fort Bend County, Texas on September 26,

2017.

        2.     Defendant filed its Notice of Removal on February 21, 2018.

        3.     The parties have settled the dispute amongst themselves.

        4.     Accordingly, Plaintiff requests that the Court dismiss this lawsuit with prejudice

against filing same in the future.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff hereto requests that the Court enter

the attached Order dismissing the above-entitled and numbered cause with prejudice with costs of

court being assessed against the party incurring same.
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                                             Respectfully submitted,

                                                     VILT AND ASSOCIATES, P.C.

                                             By:   /s/ Robert C. Vilt
                                                   ROBERT C. VILT
                                                   Texas Bar Number 00788586
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                                             ATTORNEYS FOR PLAINTIFF


                              CERTIFICATE OF CONFERENCE

      I hereby certify that a conference was held on the merits of this motion on December 11,
2018 with Matt D. Manning and he is unopposed to the relief sought herein.

                                             /s/ Robert C. Vilt
                                             ROBERT C. VILT


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was forwarded to all counsel
of record pursuant Federal Rules of Civil Procedure on this the 12th day of December, 2018.

       Matt D. Manning.
       McGlinchey Stafford
       1001 McKinney, Suite 1500
       Houston, TX 77002




                                             /s/ Robert C. Vilt
                                             ROBERT C. VILT
